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Michael Gibaldi

From:                              SG <steve@batterypark.tv>
Sent:                              Wednesday, March 22, 2017 4:15 PM
To:                                Michael Tremonte; Justin Gunnell; Michael Gibaldi; 'Riegel Deborah'; 'Isaac D. Tilton'
Subject:                           RE: Deposition days of the week


please make a table of dates and deponents

Nothing the week of the 10th works for me and Riegel has conflicts too, so it all has to be the week of the 3rd

From: Michael Tremonte [mailto:MTremonte@shertremonte.com]
Sent: Wednesday, March 22, 2017 4:10 PM
To: SG; Justin Gunnell; Michael Gibaldi; 'Riegel Deborah'; 'Isaac D. Tilton'
Subject: RE: Deposition days of the week

Dr. Greer,

We are trying to work constructively to accommodate everyone’s schedule, which is not easy as we all have other
matters to attend to in addition to this case. That said, I can devote three days during the week of April 3: Monday,
April 3, Thursday, April 6, and Friday, April 7. As of now, we are all in agreement that you will depose Mr. Mehiel on
April 3, Messrs. McCabe and Koenig on April 6, and Mr. Milstein on April 7. To maximize efficiency, I suggest that you
add another deponent for April 3 and another for April 7, which will give you a total of six depositions for that week. I
am not available on April 4 or April 5, and I’m not inclined to agree to more than two depositions on any given date,
which means that we’ll have to schedule some of the depositions for the following week. As I stated in my earlier email,
the 11th works for us for your deposition, and we are generally flexible on the remaining dates during that week, subject
of course to counsel for the Landlord Defendants’ availability.

--Michael


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From: SG [mailto:steve@batterypark.tv]
Sent: Wednesday, March 22, 2017 3:47 PM
To: Michael Tremonte <MTremonte@shertremonte.com>; Justin Gunnell <JGunnell@shertremonte.com>; Michael
Gibaldi <MGibaldi@shertremonte.com>; 'Riegel Deborah' <driegel@rosenbergestis.com>; 'Isaac D. Tilton'
<itilton@rosenbergestis.com>
Subject: RE: Deposition days of the week

"Between the 1st and the 14th" is a two week period, and not what I asked. In a one-week time frame, we need
to conduct all of these. Mr. Mehiel does not have the right to dictate these terms unless he has a medical excuse.

Based upon your reply below, we will depose Mehiel on the 3rd, then Koenig and McCabe on the 6th.

The next week does not work because Riegel claims she is unable to work on the 10th and 11th. Therefore, we
need to depose Milstein on one day between the 3rd and 7th.

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The third-party depositions are not in your control unless you claim, yet again, to be unavailable. But we
already established in court that you are available the week of the 3rd. Therefore, I will schedule Harvey, Ford,
and Soriero for the week of April 3rd.

Regarding your deposition of me, I am available only on the 6th or 7th, because I am tied up with the other
depositions.

Therefore, the following questions remain: What day of the week of April 3rd do you want to depsose Milstein
and Greer?



From: Michael Tremonte [mailto:MTremonte@shertremonte.com]
Sent: Wednesday, March 22, 2017 3:35 PM
To: SG; Justin Gunnell; Michael Gibaldi; Riegel Deborah; Isaac D. Tilton
Subject: RE: Deposition days of the week

Dr. Greer,

As we indicated to Judge Cott at yesterday’s conference, the only date that works for Mr. Mehiel is April 3. Your
proposed date of April 6 works for Mr. McCabe’s and Mr. Koenig’s depositions.

The 11th works for your deposition, but we won’t agree to schedule anyone else for the same date.

Subject to counsel for the Landlord Defendants’ availability, the remaining dates are fine and we are flexible as to other
dates between the 1st and the 14th.

--Michael


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From: SG [mailto:steve@batterypark.tv]
Sent: Wednesday, March 22, 2017 11:49 AM
To: Justin Gunnell <JGunnell@shertremonte.com>; Michael Gibaldi <MGibaldi@shertremonte.com>; Michael Tremonte
<MTremonte@shertremonte.com>; Riegel Deborah <driegel@rosenbergestis.com>; Isaac D. Tilton
<itilton@rosenbergestis.com>
Subject: FW: Deposition days of the week

I am going to court to get subpoenas for these dates. I gave you a chance to object in court and last night.

From: SG [mailto:steve@batterypark.tv]
Sent: Wednesday, March 22, 2017 12:39 AM
To: (mtremonte@shertremonte.com); Justin Gunnel (jgunnell@shertremonte.com); Michael Wallace Gibaldi
(mgibaldi@shertremonte.com); Riegel Deborah (driegel@rosenbergestis.com); Isaac D. Tilton
(itilton@rosenbergestis.com)
Subject: Deposition days of the week

Please agree to these by 10:00 AM today so I can go to the court and have subpoenas approved at the court.

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These dates match the block of the week we have already agreed to in court. I would like to do these days of the
week for depositions to allow me to do them all in one visit to NYC. April 6th is a Thursday and the 11th is a
Tuesday.

 April 6th                      Mehiel
                                McCabe
                                Koenig

 April 7th                      Milstein


 April 10th                     Harvey
                                Ford

 April 11th                     Greer
                                Soriero


Later on at some point           Rossi




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